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              IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF FLORIDA
                       ORLANDO DIVISION

 SPEECH FIRST, INC.,
                             Plaintiff,

 v.                                           Case No. 6:21-cv-313

 ALEXANDER CARTWRIGHT, in                     VERIFIED AMENDED
 his individual capacity and his              COMPLAINT
 official capacity as President of the
 University of Central Florida,
                             Defendant.


      Plaintiff, Speech First, Inc., brings this action under the First and

Fourteenth Amendments to the United States Constitution and alleges as

follows:

                              INTRODUCTION
      1.    “The vigilant protection of constitutional freedoms is nowhere

more vital than in the community of American [universities].” Healy v. James,

408 U.S. 169, 180 (1972). In theory, “[t]he college campus is peculiarly suited

to serve as a marketplace of ideas and a forum for the robust exchange of

different viewpoints.” Solid Rock Found. v. Ohio State Univ., 478 F. Supp. 96,

102 (S.D. Ohio 1979).

      2.    Yet the University of Central Florida and its officials have created

a series of rules and regulations that restrain, deter, suppress, and punish

speech about the political and social issues of the day. These restrictions on



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protected speech disregard decades of precedent. Three restrictions are

particularly egregious.

      3.    First,   the   University’s     discriminatory-harassment     policy

disciplines students who engage in “verbal acts, name-calling, [or] graphic or

written statements (via the use of cell phone or the internet)” that other

students find offensive or “humiliating.” This overbroad restriction on

protected speech violates the First Amendment.

      4.    Second, the University’s computer policy forbids students from

transmitting or displaying “images, sounds, or messages that reasonably could

be perceived as being harassing, invasive, or otherwise unwanted.” It likewise

forbids students from using “university messaging systems” to send “harassing

or hate messages.” This policy—violations of which can lead to the loss of

computer or network privileges and even formal discipline—is vague,

overbroad, and incompatible with the First and Fourteenth Amendments.

      5.    Third, the University employs a bias response team—called the

Just Knights Response Team (“JKRT”)—that is comprised of University

administrators (including a police officer) to police “bias-related incidents.” A

“bias-related incident” is formally defined as “any behavior or action directed

towards an individual or group based upon [the] actual or perceived identity

characteristics or background” of the complainant, “without regard to whether

the act is legal, illegal, intentional, or unintentional.” Bias-related incidents


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can occur on or off campus, including on social media and other digital

platforms. Students accused of “bias-related incidents” can be summoned for

meetings with University officials for “discussion, counseling, training, [or]

consensus-building.” The JKRT poses a grave risk of chilling the open and

unfettered discourse that should be central to higher education. Its

bureaucratic processes—and the vague, overbroad definition of “bias-related

incident” that triggers those processes—violate the First and Fourteenth

Amendments.

                      JURISDICTION AND VENUE
      6.    This action arises under the First and Fourteenth Amendments to

the United States Constitution and is brought via 42 U.S.C. §§1983 and 1988.

      7.    The Court has subject-matter jurisdiction under 28 U.S.C. §§1331

and 1343.

      8.    Venue is proper under 28 U.S.C. §1391 because Defendant

“resides” here and a substantial part of the events or omissions giving rise to

the claims occurred here.

                                  PARTIES
      9.    Plaintiff, Speech First, Inc., is a nationwide membership

organization of students, alumni, and other concerned citizens. Speech First is

dedicated to preserving civil rights secured by law, including the freedom of

speech guaranteed by the First Amendment. Speech First seeks to protect the



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rights of students and others at colleges and universities through litigation and

other lawful means. Speech First has members who attend the University.

      10.   The University of Central Florida is a public university organized

and existing under the laws of Florida.

      11.   Defendant Alexander Cartwright is President of the University.

Cartwright is responsible for the enactment and enforcement of University

policies, including the policies challenged here. Cartwright is sued in his

individual and official capacities. He has stipulated that “any injunctive or

declaratory relief or attorney’s fees awarded in this action against” him in his

official capacity “will apply to and be binding on the University.”

                               BACKGROUND
I.    College Students and Their First Amendment Rights
      12.   “The First Amendment reflects ‘a profound national commitment

to the principle that debate on public issues should be uninhibited, robust, and

wide-open.’” Snyder v. Phelps, 562 U.S. 443, 452 (2011) (quoting N.Y. Times

Co. v. Sullivan, 376 U.S. 254, 270 (1964)). “The right of citizens to inquire, to

hear, to speak, and to use information to reach consensus is a precondition to

enlightened self-government and a necessary means to protect it.” Citizens

United v. FEC, 558 U.S. 310, 339 (2010).

      13.   The First Amendment’s importance is at its apex at our nation’s

colleges and universities. “The vigilant protection of constitutional freedoms is



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nowhere more vital than in the community of American schools [of higher

education]. The college classroom with its surrounding environs is peculiarly

the ‘marketplace of ideas.’” Healy, 408 U.S. at 180 (quoting Shelton v. Tucker,

364 U.S. 479, 487 (1960)). The core principles of the First Amendment “acquire

a special significance in the university setting, where the free and unfettered

interplay of competing views is essential to the institution’s educational

mission.” Doe v. Univ. of Mich., 721 F. Supp. 852, 863 (E.D. Mich. 1989) (citing

Keyishian v. Bd. of Regents, 385 U.S. 589, 603 (1967)). “Teachers and students

must always remain free to inquire, to study and to evaluate, to gain new

maturity and understanding; otherwise our civilization will stagnate and die.”

Sweezy v. N.H. ex rel. Wyman, 354 U.S. 234, 250 (1957).

      14.   The First Amendment’s protections, moreover, are “not confined to

the supervised and ordained discussion which takes place in the classroom”

but extend throughout a university’s campus. Solid Rock Found., 478 F. Supp.

at 102.

      15.   Put simply, “First Amendment protections [do not] apply with less

force on college campuses than in the community at large.” Healy, 408 U.S. at

180. “The mere dissemination of ideas—no matter how offensive to good

taste—on a state university campus may not be shut off in the name alone of

‘conventions of decency.’” Papish v. Bd. of Curators of Univ. of Missouri, 410

U.S. 667, 670 (1973). Indeed, “the point of all speech protection is … to shield


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just those choices of content that in someone’s eyes are misguided, or even

hurtful.” Hurley v. Irish-American Gay, Lesbian, and Bisexual Group of Boston,

Inc., 515 U.S. 557, 574 (1995). These principles apply with more force “[i]n our

current national condition,” not less. Speech First, Inc. v. Fenves, 979 F.3d 319,

339 (5th Cir. 2020).

      16.    The University is aware of this precedent. In 2019, President

Cartwright’s predecessor, Thad Seymour, co-signed a letter with every other

public university president in Florida recognizing “the principles of freedom of

speech and freedom of expression in the United States and Florida

constitutions.”

II.   Universities’ Use of Speech Codes and Bias Response Teams to
      Chill Speech
      17.    Instead of promoting the “robust exchange of ideas,” Keyishian v.

Bd. of Regents of Univ. of N.Y., 385 U.S. 589, 603 (1967), universities are now

more interested in protecting students from ideas that make them

uncomfortable. Universities do this by adopting policies and procedures that

discourage speech by students who dare to disagree with the prevailing campus

orthodoxy.

      18.    One tried-and-true method of accomplishing this feat is the

campus speech code. Speech codes, according to the Foundation for Individual

Rights in Education (FIRE), are “university regulations prohibiting expression




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that would be constitutionally protected in society at large.” Spotlight on

Speech Codes 2019 at 10, FIRE, bit.ly/2GAyfKJ.

      19.    Speech codes punish students for undesirable categories of speech

such as “harassment,” “bullying,” “hate speech,” and “incivility.” Because these

policies impose vague, overbroad, content-based (and sometimes viewpoint-

based) restrictions on speech, federal courts regularly strike them down as

violating the First and Fourteenth Amendments. Id. at 10, 26; see also Speech

First, Inc. v. Fenves, 979 F.3d 319, 338-39 n.17 (5th Cir. 2020) (collecting “a

consistent line of cases that have uniformly found campus speech codes

unconstitutionally overbroad or vague”).

      20.    In addition to speech codes, universities are increasingly turning

to a new, innovative way to deter disfavored speech—so-called “bias response

teams.”

      21.    Living up to their Orwellian name, bias response teams encourage

students to monitor each other’s speech and report incidents of “bias” to the

University (often anonymously). “Bias” is defined incredibly broadly and covers

wide swaths of protected speech; indeed, speech is often labeled “biased” based

solely on the listener’s subjective reaction to it.

      22.    Students have been reported to bias response teams for writing a

satirical article about “safe spaces,” tweeting “#BlackLivesMatter,” chalking




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“Build the Wall” on a sidewalk, and expressing support for Donald Trump. Bias

Response Team Report 2017, at 15-18, FIRE, bit.ly/2P9iEaj.

      23.     After receiving reports of a bias incident, bias-response teams

typically log the incident, investigate it, meet with the relevant parties,

attempt to reeducate the “offender,” and can recommend formal or informal

discipline.

      24.     Although universities claim this process is entirely voluntary, they

know that students do not see it that way. The U.S. Court of Appeals for the

Sixth Circuit did not see it that way, either. It found that an “invitation from

[a bias-response team] to meet could carry an implicit threat of consequence

should a student decline the invitation.” Speech First, Inc. v. Schlissel, 939 F.3d

756, 765 (6th Cir. 2019). Even when “there is no indication that the invitation

to meet contains overt threats,” the University’s disciplinary “referral power

lurks in the background of the invitation.” Id.

      25.     A 2017 report from FIRE found that bias-response teams monitor

protected expression and lead to “a surveillance state on campus where

students and faculty must guard their every utterance for fear of being

reported to and investigated by the administration.” Bias Response Team

Report 2017, at 28 (Feb. 2017), bit.ly/2P9iEaj. “[T]he posture taken by many

Bias Response Teams,” the study found, “is all too likely to create profound




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risks to freedom of expression, freedom of association, and academic freedom

on campus.” Id. at 5.

      26.    Other universities have discovered that bias-response teams chill

student speech. The University of Northern Colorado, for example, shuttered

its bias-response team in 2016, explaining that it had come “at the expense of

free speech and academic freedom” and that its so-called “voluntary” processes

“made people feel that we were telling them what they should and shouldn’t

say.” The University of Iowa likewise scrapped its plans to create a bias

response team, citing their “high failure rate” and their tendency to “become

almost punitive.”

      27.    University professors have similarly observed that bias-response

teams “result in a troubling silence: Students, staff, and faculty [are] afraid to

speak their minds, and individuals or groups [are] able to leverage bias

reporting policies to shut down unpopular or minority viewpoints.” Jeffrey

Snyder & Amna Khalid, The Rise of “Bias Response Teams” on Campus, The

New Republic (Mar. 30, 2016), bit.ly/1SaAiDB; see also Keith Whittington, Free

Speech and the Diverse University, 87 Fordham L. Rev. 2453, 2466 (2019)

(“[E]fforts [by bias-response teams] to encourage students to anonymously

initiate disciplinary proceedings for perceived acts of bias or to shelter

themselves from disagreeable ideas are likely to subvert free and open inquiry

and invite fears of political favoritism.”).


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        28.   Courts have likewise recognized the chilling effect of bias-response

 teams that closely resemble the University’s. After Speech First challenged

 similar bias-response teams at the University of Texas and the University of

 Michigan, both schools disbanded their teams. The Sixth Circuit agreed that

 Michigan’s team imposed an “objective chill” on speech because it “act[ed] by

 way of implicit threat of punishment and intimidation to quell speech.” Speech

 First, Inc. v. Schlissel, 939 F.3d 756, 765 (6th Cir. 2019). The Fifth Circuit also

 agreed, stressing that Texas’s team “represent[ed] the clenched fist in the

 velvet glove of student speech regulation.” Speech First, Inc. v. Fenves, 979 F.3d

 319, 338 (5th Cir. 2020).

 III.   The University’s Discriminatory-Harassment Policy
        29.   On October 14, 2020, the University published Policy 2-004.2,

 titled Prohibition of Discrimination, Harassment, and Related Interpersonal

 Violence.

        30.   Policy 2-004.2 bans “discriminatory harassment” that causes a

 “hostile environment.” It defines such harassment as “verbal, physical,

 electronic or other conduct based upon an individual’s race, color, ethnicity,

 national origin, religion, non-religion, age, genetic information, sex (including

 pregnancy and parental status, gender identity or expression, or sexual

 orientation), marital status, physical or mental disability (including learning

 disabilities, intellectual disabilities, and past or present history of mental



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 illness), political affiliations, veteran’s status . . . , or membership in other

 protected classes that interferes with that individual’s educational or

 employment opportunities, participation in a university program or activity,

 or receipt of legitimately-requested services” and that “meet[s] the description

 of … Hostile Environment Harassment.”

       31.     “Hostile environment harassment” is defined as “[d]iscriminatory

 harassment that is so severe or pervasive that it unreasonably interferes with,

 limits, deprives, or alters the terms or conditions of education,” “employment,”

 or “participation in a university program or activity,” “when viewed from both

 a subjective and objective perspective.” The University warns that “[a] hostile

 environment can be created … by a single or isolated incident, if sufficiently

 severe” or “serious.”

       32.     Examples of discriminatory harassment include “verbal acts,

 name-calling, graphic or written statements (via the use of cell phones or the

 Internet), or other conduct that may be humiliating.”

       33.     The   University   describes    discriminatory   harassment     as

 “unlawful.”

       34.     According to the University, discriminatory harassment can occur

 virtually anywhere, at any time, by any medium. The policy applies to

 incidents “on campus or other property owned by, controlled by, or affiliated

 with the University”; to off-campus incidents that occur “in the context of a


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 University employment or education program or activity”; and to off-campus

 incidents that have “continuing adverse effects on or create[] a hostile

 environment for students” or University employees. As the University

 acknowledges, “[t]his means the University may take action against students,

 registered student organizations … and third-parties for off campus conduct.”

 Policy 2-004.2 disavows any “time limit for a complainant to report” an alleged

 violation to the University.

       35.   University employees who learn of suspected discriminatory

 harassment, “directly or indirectly,” have “a duty to report the information

 immediately.”

       36.   Students can make discriminatory-harassment allegations by

 filing a complaint with the University’s Office of Institutional Equity (“OIE”)—

 specifically, by using the “Discrimination, Discriminatory Harassment &

 Retaliation Complaint Form” on the University’s website. The form asks the

 complainant to describe the alleged harassment and explain how he or she

 wishes the OIE to resolve the complaint. Students can choose from a list of 17

 personal characteristics that were the alleged basis for the discriminatory

 harassment, such as “gender identity,” “gender expression,” and “non-religion,”

 or they can check a box that says “other” and specify a reason. The form

 instructs students to “[s]elect all characteristics that you believe motivated the

 respondent.”


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       37.   After a student files a complaint, OIE conducts an investigation

 and notifies the complainant in writing of its findings. If OIE concludes that a

 respondent has engaged in discriminatory harassment, it informs “the

 President, Provost, or appropriate Vice President” of that conclusion. Those

 officials, in turn, “take steps to implement actions that will correct the

 [respondents’] conduct.” Students who are found guilty of discriminatory

 harassment are subject to disciplinary action, including “discipline through

 standard procedures” or “other remedies deemed appropriate.”

       38.   Discriminatory harassment also constitutes a violation of the

 Golden Rule Student Handbook—the Rules of Conduct for University

 students. Violations of the Rules of Conduct subject students to disciplinary

 action via the student conduct process.

       39.   To initiate the student conduct process, the Student Conduct and

 Academic Integrity (“SCAI”) office “will send written notification to the

 charged student indicating the nature of the activity in question and what

 university rules were allegedly violated.” The notice instructs the student “to

 attend a required preliminary conference with SCAI to discuss the charges.” If

 the student fails to attend the conference, the University can place a hold on

 his or her account, “preventing [the student] from registering for future classes

 until the matter is resolved.”




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       40.    Depending on the nature of the alleged incident, the University

 can resolve the case through mediation, an informal hearing, or a formal

 hearing. If a student accepts “responsibility for the charges of violation of the

 Rules of Conduct,” the “matter will be settled by the following outcomes:

 punitive    sanction   (Disciplinary   Warning,   Disciplinary   Probation,   or

 Disciplinary Deferred Suspension) as well as educational sanctions (papers,

 seminars, community service, etc.).” If the student does not admit

 responsibility for the alleged misconduct, the matter proceeds to a formal

 hearing. Students who are found liable of disciplinary misconduct face the

 University’s full range of formal disciplinary sanctions.

       41.    On top of forbidding students from engaging in discriminatory

 harassment, the Rules of Conduct also prohibit students from “condoning or

 encouraging acts of harmful behavior as defined [by the relevant section of the

 Code] or failing to intervene during an act of harmful behavior while it is

 occurring.” In other words, students can be guilty of misconduct not only for

 their own speech but also for simply hearing others’ “harassing” speech and

 not intervening. The Rules of Conduct also forbid “[c]omplicity,” which is

 defined as “any act taken with the purpose of aiding, facilitating, promoting,

 or encouraging the commission of an act prohibited by the Rules of Conduct.”

       42.    Recent events illustrate how the discriminatory harassment policy

 can be used to suppress controversial or unpopular opinions on campus. In


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 June 2020, hundreds of students called for tenured psychology professor Dr.

 Charles Negy to be fired, after he posted controversial opinions about the topic

 of systemic racism.

       43.    University officials, including President Cartwright, Provost

 Michael Johnson, and Chief Diversity Officer Kent Butler, urged students to

 file discriminatory harassment complaints against Dr. Negy and implied that

 he should be fired.

       44.    During a June 4, 2020 protest, President Cartwright agreed with

 a student that Dr. Negy “should have been fired before he got tenure. That is

 the problem.” During the same protest, Provost Johnson told students “[t]he

 single best thing they can do to avoid this type of problem”—i.e., protected

 speech that students dislike—is “to file a complaint about discriminatory

 behavior.”

       45.    Based on those complaints,        Dr. Negy was subsequently

 investigated, found to have committed discriminatory harassment, and

 terminated on January 25, 2020.

 IV.   The University’s Computer Policy
       46.    The University requires students to sign a user agreement and to

 register their personal devices with the UCF Information Technology

 department before they can access the internet over the University network




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 (“ResNet”). The “ResNet User Agreement” sets forth several rules that

 students must follow to maintain internet access and network privileges.

       47.   In September 2016, the University promulgated Policy 4-002.2,

 which governs “all University … students … who use university information

 technology resources.”

       48.   The University forbids students from using the University internet

 network to “transmit to others or to display images, sounds, or messages that

 reasonably could be perceived as being harassing, invasive, or unwanted.” It

 also prohibits students from sending “harassing or hate messages” from their

 University email accounts.

       49.   Any “[v]iolation of the computer and network rules and policies

 shall result in disciplinary action,” “up to and including termination.” If the

 University finds a violation to be sufficiently serious, it will refer the matter

 “to the appropriate university officials, such as the dean of students of the

 division vice president for appropriate disciplinary action.” In any event,

 violations “generally result in immediate loss of network and computer access

 and privileges.”

       50.   The University’s computer policy does not elaborate on the terms

 “hate,” “harassing,” “invasive,” or “unwanted.” Nor does it provide any

 examples of prohibited behavior.




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 V.    The University’s Just Knights Response Team
       51.   The University maintains a bias response team, which it calls the

 Just Knights Response Team (“JKRT”). The JKRT, according to the University,

 is “an inter-divisional team that assesses bias incidences in order to coordinate

 university resources for the creation of effective interventions and future

 incident prevention programming.”

       52.   The JKRT is comprised of high-ranking officials from nearly every

 University department overseeing student life, including the UCF campus

 police department. The JKRT’s members include Commander James Mangan

 (who leads a 20-officer UCF campus police department); the Executive Director

 of the Florida Consortium of Public Universities; the Director of UCF Global;

 and senior representatives from the University’s offices of Housing and

 Residence Life, Student Development and Enrollment Services, Social Justice

 and Advocacy, Recreation and Wellness Center, Student Care Services, and

 Faculty Relations.

       53.   The JKRT was created to “act as a clearinghouse for any bias-

 related incidents that may occur on UCF campuses.”

       54.   To that end, the JKRT “receive[s], monitor[s], refer[s], and, as

 necessary, coordinate[s] university resources to these incidents.” It “provides a

 safe space for students” who “are witnesses to or targets of bias” and “ensure[s]

 comprehensive responses” to bias-related incidents.



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       55.    The JKRT defines a bias-related incident as “any behavior or

 action directed towards an individual or group based upon actual or perceived

 identity characteristics or background.”

       56.    Bias is described as “offensive” actions based on personal

 characteristics, including “race, sex (including gender identity/expression),

 color, religion, ancestry, national origin, age, disability, veteran status,

 military status, or sexual orientation.” The JKRT warns that “[s]uch acts may

 result in creating a hostile environment and may have a negative

 psychological, emotional, or physical impact on an individual, group, and/or

 community.”

       57.    According to the JKRT, “[b]ias-related incidents occur without

 regard to whether the act is legal, illegal, intentional, or unintentional. While

 these acts do not necessarily rise to the level of a crime, a violation of state law,

 university policy, or the student code of conduct,” “a bias act may contribute to

 creating an unsafe, negative, unwelcoming environment of the victim, or

 anyone who shares the same social identity as the victim, and/or community

 members at the university.”

       58.    Bias-related incidents can occur on or off campus, including on

 social media or other digital platforms.

       59.    Bias-related incidents can be speech that someone perceives as

 “confrontation/intimidation,” “verbal harassment/slurs/threats,” “bullying,”


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 “threatening     mail/email/on-line      harassment,”    “threatening     voice

 mail/message,” or a “written slur or threat.” Bias-related incidents can also be

 “gestures” or “other” actions.

       60.   Students can submit complaints about bias incidents online via a

 “JKRT Intake Form.” Complainants are not required to identify themselves or

 provide their email addresses or phone numbers.

       61.   The intake form asks students to specify the date of and location

 of the alleged incident and to “list the individuals involved (excluding

 yourself).” It contains entries for the respondent’s name, role in a student

 organization (if any), “phone number (if known),” “email address (if known),”

 and UCF Personal Identification Number. It also contains an option to include

 additional respondents, if applicable.

       62.   The form requires complainants to provide a description of the

 incident and their “desired outcome” and provides an option to include

 “supporting documentation” for the complaint.

       63.   The main page of the JKRT explicitly warns about referrals to

 other University officials: “By submitting your report, this information may be

 shared with the Office of Student Conduct (OSC), Office of Student Rights and

 Responsibility (OSRR), and/or the UCF Police Department (UCFPD).”

       64.   In April 2019, a member of the JKRT acknowledged that students

 come “to [his] office rehearsed in their ‘concerns’ for their safety and mental


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 health” when conservative organizations invite speakers to campus, and that

 student “[g]roups get training on what to say to get an event canceled.”

       65.   The University promotes the JKRT and encourages students to

 report “bias-related incidents” to it.

       66.   In a June 2020 letter, the president of the University reminded the

 UCF community of the JKRT. “What is needed now is action,” he said—“a

 commitment from our university to not merely celebrate our diversity, but to

 be actively anti-racist.” Because “[s]ystemic racism, sexism, homophobia and

 other hateful ideologies seek to deny our shared humanity,” “[t]hey must be

 called out and confronted.” “[R]eflection” is not enough, the president

 continued, and “must be paired with action and a commitment to stand against

 racism in all its forms. At UCF, hate and bias-related incidents are responded

 to by the Just Knights Response Team, which serves as a resource for our

 entire community to help ensure a safe and inclusive UCF experience.”

       67.   The interim dean likewise wrote a letter in June 2020 that

 reminded the UCF community that “any social or racial bias can be reported

 to [the JKRT].”

       68.   University professors have listed the JKRT as a resource on class

 syllabi.




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       69.     The University’s Multicultural Student Center has used its

 Twitter account to encourage students to use the JKRT to stand up “against

 prejudice in our community.”

       70.     An OIE investigation report revealed that the JKRT received

 eleven reports against a professor, Dr. Negy, after University officials

 encouraged students to report him. The University later terminated Dr. Negy

 for “discriminatory harassment” and other alleged misconduct.

       71.     When it receives reports, the JKRT “creates timely interventions”

 and attempts to respond to every report within 48 hours.

       72.     The JKRT’s interventions can “involve a variety of activities

 including discussion, mediation, training, counseling and consensus building.”

       73.     The JKRT’s intervention involve not just the persons who are

 “impacted by” bias incidents, but also “the persons involved in” bias incidents.

       74.     “Failure to comply with oral or written instruction from duly

 authorized University officials (i.e. faculty, staff, administration, residence

 hall staff) acting within the scope of their job duties or law enforcement officers

 acting in the performance of their duties,” constitutes “disruptive behavior”

 under the University’s code of conduct and subjects a student to formal

 discipline.




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       75.     The University refers to this entire scheme of reporting,

 investigating, and responding as “the Just Knights Response Team (JKRT)

 protocol.”

 VI.   The Effect of the University’s Policies on Speech First’s
       Members
       76.     Speech First’s members who attend the University are suffering

 concrete injuries as a direct result of the University’s unconstitutional policies

 and actions. These students want to engage in speech that is covered by the

 University’s harassment policy, computer policy, and bias-incidents policy, and

 they credibly fear that the expression of their deeply held views will be

 considered “biased” and reported to the JKRT.

       77.     One Speech First member (“Student A”) is a junior at the

 University.

       78.     Student A is politically conservative and holds views that are

 unpopular and in the minority on campus.

       79.     Student A believes that affirmative action is deeply unfair,

 because it helps one racial group (e.g., African Americans) by harming other

 racial groups (e.g., whites and Asian Americans).

       80.     Student A believes that abortion is immoral, that a baby is not a

 woman’s “property” just because it is not outside of the womb, and that

 abortion is another form of slavery.




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       81.   Student A believes that a person is either a man or a woman, that

 a man cannot become a woman because he “feels” like one, and that a woman

 cannot become a man because she “feels” like one. Student A does not want to

 be forced to call people by the gender of their choice.

       82.   Student A believes the government should not be in the business

 of marriage and should not be able to force religious organizations to recognize

 marriages with which they disagree.

       83.   Student A believes that illegal immigration is dangerous and ruins

 economies. He believes that people can be “illegal aliens.”

       84.   Student A also strongly supports the Second Amendment and

 believes that efforts to take guns away from Americans are deeply dangerous.

       85.   Finally, Student A supports Israel and believes that the

 Palestinian movement is anti-Semitic.

       86.   Student A enrolled in the University because he wanted to learn

 in a challenging environment where students and faculty are free to engage in

 lively, fearless debate and deliberation.

       87.   Student A wants to engage in open and robust intellectual debate

 with his fellow students about these topics in the classroom, in other areas of

 campus, online, and in the City of Orlando.

       88.   Because he has strong views on these issues, Student A wants to

 speak passionately and repeatedly about these matters. He wants to point out


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 the flaws in fellow students’ arguments and encourage them to change their

 minds or, at a minimum, to understand his views.

       89.   But the University’s harassment and computer policies and the

 Just Knights Response Team make Student A reluctant to openly express his

 opinions.

       90.   Student A does not fully express himself or talk about certain

 issues because he fears that sharing his beliefs may be considered

 “discriminatory harassment.” He fears that other students will find his views

 “unwanted” or “humiliating” or claim that his views “interfere[] with” their

 educational opportunities. Student A believes that many of the topics that he

 wants to address could easily be considered “discriminatory” under the

 University’s definition of “discriminatory harassment.” Student A’s fears are

 grounded in his own personal experiences on campus.

       91.   Student A’s fears are amplified by the fact that the University can

 punish him not only for committing “discriminatory harassment” himself, but

 also for “complicity” or “failing to intervene” during someone else’s

 “discriminatory harassment.”

       92.   Student A also wants to use the University email system to contact

 other students in support of conservative initiatives and to oppose

 controversial student-government proposals. But Student A does not fully

 express himself or talk about certain issues because he fears that doing so will


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 be considered a violation of the ResNet User Agreement and UCF Policy 4-

 002.2, and that he will lose his network privileges or even face disciplinary

 sanctions as a result. Student A fears that other students will characterize

 emails asserting his views as “harassing,” “invasive,” “unwanted,” or “hate

 messages.”

       93.    Finally, Student A does not fully express himself or talk about

 certain issues because he fears that other students, faculty members, or others

 will report him to the Just Knights Response Team for committing a “bias-

 related” offense. Student A worries that there are other students who will

 “catch him” engaging in “biased” speech and that the University will take

 action against him. For example, Student A is afraid that the Just Knights

 Response Team will keep a record on him, share the allegations with others

 within the university, call him in for meetings, or refer the allegations to the

 Office of Student Rights and Responsibility or the UCF police department.

       94.    Student A is aware of the recent investigation and subsequent

 termination of former University Professor Charles Negy, after he expressed

 his own opinions on Twitter in June 2020. Seeing a psychology professor

 investigated and fired for his private speech only heightens Student A’s fear of

 expressing his views. If a tenured professor can be fired for speech, Student A

 worries what will happen to him.




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       95.     Another Speech First member (“Student B”) is a junior at the

 University.

       96.     Student B is politically conservative and holds views that are

 unpopular and in the minority on campus.

       97.     Student B believes that affirmative action produces hate and

 resentment, not actual solutions to problems. Student B disagrees with

 “diversity training” and does not believe that all white people are racist. She

 does not support the Black Lives Matter movement.

       98.     Student B is pro-life and does not think women should be allowed

 to have “convenience” abortions.

       99.     Student B supports people who are in the LGBTQ community, but

 there are many things she doesn’t understand, like the new use of students’

 preferred pronouns. Student B will try her best to be polite with fellow

 students, but she doesn’t believe anyone should be forced to use certain

 pronouns.

       100. Student B strongly disagrees with illegal immigration. She

 believes people should come to the United States legally, learn English, pass

 the citizenship test, and follow the rules. She believes that most of the people

 who come to this country illegally will not pay taxes and will end up on welfare.




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       101. Student B is a strong supporter of the Second Amendment. She

 believes that law-abiding citizens should have the right to own guns and to

 protect themselves from others and, in particular, the government.

       102. Finally, Student B believes allowing biological men who are

 transgender to play in women’s sports is terrible and anti-feminist, because

 biological men are bigger, stronger, and faster than most biological women.

 Similarly, she believes allowing children to transition to a different gender is

 wrong. Student B believes that her views are grounded in common sense but

 that many find them to be “transphobic.”

       103. Student B enrolled in the University because she wanted to learn

 in a challenging environment where students and faculty are free to engage in

 lively, fearless debate and deliberation.

       104. Student B wants to engage in open and robust intellectual debate

 with her fellow students about these topics in the classroom, in other areas of

 campus, online, and in the City of Orlando.

       105. Because she has strong views on these issues, Student B wants to

 speak passionately and repeatedly about these matters. She wants to point out

 the flaws in fellow students’ arguments and encourage them to change their

 minds or, at a minimum, to understand her views.




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       106. But the University’s harassment and computer policies and the

 Just Knights Response Team make Student B reluctant to openly express her

 opinions.

       107. Student B does not fully express herself or talk about certain

 issues because she fears that sharing her beliefs may be considered

 “discriminatory harassment.” She fears that other students will find her views

 “unwanted” or “humiliating” or claim that her views “interfere[] with” their

 educational opportunities. Student B believes that many of the topics that she

 wants to address could easily be considered “discriminatory” under the

 University’s definition of “discriminatory harassment.” Student B’s fears are

 grounded in her own personal experiences on campus.

       108. Student B’s fears are amplified by the fact that the University can

 punish her not only for committing “discriminatory harassment” herself, but

 also for “complicity” or “failing to intervene” during someone else’s

 “discriminatory harassment.”

       109. Student B also wants to use the University email system to contact

 other students in support of conservative initiatives and to oppose

 controversial student-government proposals. But Student B does not fully

 express herself or talk about certain issues because she fears that doing so will

 be considered a violation of the ResNet User Agreement and UCF Policy 4-

 002.2, and that she will lose her network privileges or even face disciplinary


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 sanctions as a result. Student B fears that other students will characterize

 emails asserting her views as “harassing,” “invasive,” “unwanted,” or “hate

 messages.”

       110. Finally, Student B does not fully express herself or talk about

 certain issues because she fears that other students, faculty members, or

 others will report her to the Just Knights Response Team for committing a

 “bias-related” offense. Student B worries that there are other students who will

 “catch her” engaging in “biased” speech and that the University will take action

 against her. For example, Student B is afraid that the Just Knights Response

 Team will keep a record on her, share the allegations with others within the

 university, call her in for meetings, or refer the allegations to the Office of

 Student Rights and Responsibility or the UCF police department.

       111. Student B is aware of the recent investigation and subsequent

 termination of former University Professor Charles Negy, after he expressed

 his own opinions on Twitter in June 2020. Seeing a psychology professor

 investigated and fired for his private speech only heightens Student B’s fear of

 expressing her views. If a tenured professor can be fired for speech, Student B

 worries what will happen to her.

       112. Another Speech First member (“Student C”) is a junior at the

 University.




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       113. Student C holds conservative political beliefs that are unpopular

 and in the minority on campus.

       114. Student C is strongly opposed to illegal immigration. He believes

 that it is terrible that certain people cut the line and get government benefits.

 Student C believes that he should be allowed to say that certain people are

 “illegal” immigrants—because they are here illegally. Student C believes that

 his views are correct, but that many consider them to be “racist.”

       115. Student C finds the issues surrounding gender identity to be

 confusing. Student C wants to be respectful of others, but he thinks many of

 the things he hears about gender identity are strange and not normal. Student

 C thinks that his views will be considered “transphobic” by some people.

       116. Student C strongly supports the Second Amendment. He believes

 that Americans should have the right to bear arms, even assault rifles, in order

 to protect themselves from others and from the government.

       117. Student C enrolled in the University because he wanted to learn

 in a challenging environment where students and faculty are free to engage in

 lively, fearless debate and deliberation.

       118. Student C wants to engage in open and robust intellectual debate

 with his fellow students about these topics in the classroom, in other areas of

 campus, online, and in the City of Orlando.




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       119. Because he has strong views on these issues, Student C wants to

 speak passionately and repeatedly about these matters. He wants to point out

 the flaws in fellow students’ arguments and encourage them to change their

 minds or, at a minimum, to understand his views.

       120. But the University’s harassment and computer policies and the

 Just Knights Response Team make Student C reluctant to openly express his

 opinions.

       121. Student C does not fully express himself or talk about certain

 issues because he fears that sharing his beliefs may be considered

 “discriminatory harassment.” He fears that other students will find his views

 “unwanted” or “humiliating” or claim that his views “interfere[] with” their

 educational opportunities. Student C believes that many of the topics that he

 wants to address could easily be considered “discriminatory” under the

 University’s definition of “discriminatory harassment.” Student C’s fears are

 grounded in his own personal experiences on campus.

       122. Student C’s fears are amplified by the fact that the University can

 punish him not only for committing “discriminatory harassment” himself, but

 also for “complicity” or “failing to intervene” during someone else’s

 “discriminatory harassment.”

       123. Student C also wants to use the University email system to contact

 other students in support of conservative initiatives and to oppose


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 controversial student-government proposals. But Student C does not fully

 express himself or talk about certain issues because he fears that doing so will

 be considered a violation of the ResNet User Agreement and UCF Policy 4-

 002.2, and that he will lose his network privileges or even face disciplinary

 sanctions as a result. Student C credibly fears that other students will

 characterize emails asserting his views as “harassing,” “invasive,” “unwanted,”

 or “hate messages.”

       124. Finally, Student C does not fully express himself or talk about

 certain issues because he fears that other students, faculty members, or others

 will report him to the Just Knights Response Team for committing a “bias-

 related” offense. Student C worries that there are other students who will

 “catch him” engaging in “biased” speech and that the University will take

 action against him. For example, Student C is afraid that the Just Knights

 Response Team will keep a record on him, share the allegations with others

 within the university, call him in for meetings, or refer the allegations to the

 Office of Student Rights and Responsibility or the UCF police department.

       125. Student C is aware of the recent investigation and subsequent

 termination of former University Professor Charles Negy, after he expressed

 his own opinions on Twitter in June 2020. Seeing a psychology professor

 investigated and fired for his private speech only heightens Student C’s fear of




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 expressing his views. If a tenured professor can be fired for speech, Student C

 worries what will happen to him.

       126. Students A, B, and C are not alone. Tellingly, more than four in

 ten students who responded to UCF’s February 2020 Campus Climate Survey

 either disagreed or were unsure if they agreed with the statement “I can openly

 express my political views/worldviews in the surrounding community.”

 According to the survey, bias or harassment based on individuals’ political

 views occurs more frequently at the University than traditional forms of

 bullying.

                                  COUNT I
                     Violation of the First Amendment
                    (Discriminatory-Harassment Policy)
       127. Plaintiff repeats and realleges each of the prior allegations in this

 complaint.

       128. The First Amendment prohibits public universities from adopting

 regulations of students that are “so broad as to chill the exercise of free speech

 and expression.” Dambrot v. Cent. Michigan Univ., 55 F.3d 1177, 1182 (6th

 Cir. 1995). “Because First Amendment freedoms need breathing space to

 survive, a state may regulate in the area only with narrow specificity.” Gooding

 v. Wilson, 405 U.S. 518, 522 (1972). A public university must carefully craft its

 regulations “to punish only unprotected speech and not be susceptible of

 application to protected expression.” Id. A regulation is unconstitutionally



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 overbroad if “a substantial number of its applications are unconstitutional.”

 United States v. Stevens, 559 U.S. 460, 473 (2010). The Court must find such

 regulations facially unconstitutional because “the threat of enforcement of an

 overbroad [regulation] may deter or ‘chill’ constitutionally protected speech,”

 as “[m]any persons, rather than undertake the considerable burden (and

 sometimes risk) of vindicating their rights through case-by-case litigation, will

 choose simply to abstain from protected speech, harming not only themselves

 but society as a whole, which is deprived of an uninhibited marketplace of

 ideas.” Virginia v. Hicks, 539 U.S. 113, 119 (2003).

       129. “There is no categorical ‘harassment exception’ to the First

 Amendment’s free speech clause.” Saxe v. State Coll. Area Sch. Dist., 240 F.3d

 200, 204 (3d Cir. 2001) (Alito, J.). Rather, “[t]he right to provoke, offend and

 shock lies at the core of the First Amendment. This is particularly so on college

 campuses. Intellectual advancement has traditionally progressed through

 discord and dissent, as a diversity of views ensures that ideas survive because

 they are correct, not because they are popular.” Rodriguez v. Maricopa Cty.

 Cmty. Coll. Dist., 605 F.3d 703, 708 (9th Cir. 2010). “[I]f it is the speaker’s

 opinion that gives offense, that consequence is a reason for according it

 constitutional protection.” Hustler Magazine, Inc. v. Falwell, 485 U.S. 46, 55

 (1988).




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       130. The      University’s    discriminatory    harassment      policy    is

 unconstitutionally overbroad. By its terms, the policy plainly applies to

 protected speech. And virtually any opinion or political belief—as well as any

 use of humor, satire, or parody—could be perceived as “harassing” or

 “humiliating.”

       131. While a university might be able to prohibit harassment that

 amounts to “discrimination” against a protected class that is “so severe,

 pervasive, and objectively offensive that it can be said to deprive the victims of

 access to the educational opportunities or benefits provided by the school,”

 Davis ex rel. LaShonda D. v. Monroe Cty. Bd. of Educ., 526 U.S. 629, 650

 (1999), the University’s verbal-harassment rule goes far beyond that.

       132. The Supreme Court has also consistently recognized the

 “substantial and expansive threats to free expression posed by content-based

 restrictions.” United States v. Alvarez, 567 U.S. 709, 717 (2012). “Content-

 based regulations are” therefore “presumptively invalid.” R.A.V. v. City of St.

 Paul, 505 U.S. 377, 382 (1992). “[A]ny restriction based on the content of the

 speech must satisfy strict scrutiny, that is, the restriction must be narrowly

 tailored to serve a compelling government interest.” Pleasant Grove City v.

 Summum, 555 U.S. 460, 469 (2009).

       133. “The First Amendment’s hostility to content-based regulation

 extends” to “restrictions on particular viewpoints.” Reed v. Town of Gilbert, 135


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 S. Ct. 2218, 2230 (2015). Policies cannot “suppress disfavored speech.” Id. at

 2229. Viewpoint discrimination is flatly prohibited. See Iancu v. Brunetti, 139

 S. Ct. 2294, 2302 (2019).

        134. By restricting offensive speech about personal characteristics such

 as race, ethnicity, or gender, the discriminatory-harassment policy is a

 content-based and viewpoint-based restriction on protected speech. The

 University has no compelling interest in suppressing the unfettered exchange

 of viewpoints. Even if the University could identify a compelling interest, its

 viewpoint-discriminatory ban is not narrowly tailored to further that interest.

        135. Defendant adopted this unconstitutional policy under color of state

 law.

                                  COUNT II
                      Violation of the First Amendment
                              (Computer Policy)
        136. Plaintiff repeats and realleges each of the prior allegations in this

 complaint.

        137. The University’s computer policy prohibits students from

 “transmit[ting]” or “display[ing] images, sounds, or messages that reasonably

 could be perceived as being harassing, invasive, or otherwise unwanted.” It

 also prohibits using “university messaging systems” to send “harassing or hate

 messages.”




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        138. Violations of the computer policy “result in disciplinary action,”

 including the “immediate loss of network and computer access and privileges”

 and other punishments.

        139. The computer policy is unconstitutionally overbroad. There are a

 substantial number of instances in which the policy cannot be applied

 consistent with the First Amendment. According to the policy itself, the

 legality of a post depends entirely upon the perceptions of a recipient, observer,

 or listener.

        140. This overbroad policy chills protected speech and expression.

        141. Defendant adopted this unconstitutional policy under color of state

 law.

                                 COUNT III
        Violation of the First and Fourteenth Amendments: Void for
                                  Vagueness
                              (Computer Policy)
        142. Plaintiff repeats and realleges each of the prior allegations in this

 complaint.

        143. “It is a basic principle of due process that an enactment is void for

 vagueness if its prohibitions are not clearly defined.” Grayned v. City of

 Rockford, 408 U.S. 104, 108 (1972). “[T]he vagueness doctrine has two primary

 goals: (1) to ensure fair notice to the citizenry and (2) to provide standards for

 enforcement [by officials].” Ass’n of Cleveland Fire Fighters v. City of Cleveland,

 502 F.3d 545, 551 (6th Cir. 2007); see also In re Hunt, 835 F.3d 1277, 1279

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 (11th Cir. 2016) (An “impossibly vague” law or regulation “guarantees

 arbitrary enforcement of the law and denial of fair notice to the public.”).

       144. “With respect to the first goal, … ‘[a] statute which either forbids

 or requires the doing of an act in terms so vague that [individuals] of common

 intelligence must necessarily guess at its meaning and differ as to its

 application, violates the first essential of due process of law.’” Id. (quoting

 Connally v. Gen. Constr. Co., 269 U.S. 385, 391 (1925)). “With respect to the

 second goal, … ‘if arbitrary and discriminatory enforcement is to be prevented,

 laws must provide explicit standards for those who apply them. A vague law

 impermissibly delegates basic policy matters to [officials] for resolution on an

 ad hoc and subjective basis.’” Id. (quoting Grayned, 408 U.S., at 108-09).

       145. This principle of clarity is especially demanding when First

 Amendment freedoms are at stake. If the challenged law “interferes with the

 right of free speech or of association, a more stringent vagueness test should

 apply.” Village of Hoffman Estates v. Flipside, Hoffman Estates, Inc., 455 U.S.

 489, 499 (1982). “Certainty is all the more essential when vagueness might

 induce individuals to forego their rights of speech, press, and association for

 fear of violating an unclear law.” Scull v. Va. ex rel. Comm. on Law Reform &

 Racial Activities, 359 U.S. 344, 353 (1959).

       146. The harassment provision of the computer policy lacks any

 definitions, detail, context, or notice to students about what sorts of messages


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 the University views as “hate,” “harassing,” “invasive,” or “unwanted.” The

 only clue the policy provides is that the acceptability of certain “images,

 sounds, or messages” turns on what an observer or recipient “perceive[s].” This

 provision is “impossibly vague” and therefore unconstitutional.” Hunt, 835

 F.3d at 1279.

        147. Defendant adopted this unconstitutional policy under color of state

 law.

                                  COUNT IV
                      Violation of the First Amendment
                                    (JKRT)
        148. Plaintiff repeats and realleges each of the prior allegations in this

 complaint.

        149. The University’s definition of “bias-related incident” encompasses

 speech that is fully protected under the First Amendment.

        150. The “bias-related incidents” policy is a content-based and

 viewpoint-based restriction on speech. It is presumptively unconstitutional

 and cannot survive strict scrutiny.

        151. The policy is unconstitutionally overbroad as it encompasses

 protected speech, and there are a substantial number of instances where the

 policy cannot be applied consistent with the First Amendment.

        152. Even if students cannot be formally disciplined for committing

 “bias incidents,” the JKRT protocol objectively chills speech by threatening



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 students with negative consequences and by subjecting them to burdensome

 administrative processes (including meetings with University administrators).

 Schlissel, 939 F.3d 756; Fenves, 979 F.3d 319.

        153. This overbroad policy chills protected speech and expression.

        154. Defendant adopted this unconstitutional policy under color of state

 law.

                                  COUNT V
        Violation of the First and Fourteenth Amendments: Void for
                                  Vagueness
                                   (JKRT)
        155. Plaintiff repeats and realleges each of the prior allegations in this

 complaint.

        156. The University’s definition of a “bias-related incident,” which

 applies to “gestures,” “confrontation/intimidation” and “other” undefined

 actions, is amorphous and subjective.

        157. This amorphous standard creates a serious risk that the policy will

 be enforced in an arbitrary or discriminatory manner, or will be used to target

 speech based on the viewpoint expressed.

        158. The University’s policy on “bias-related incidents” is thus void for

 vagueness.

        159. Defendant adopted this unconstitutional policy under color of state

 law.




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           WHEREFORE, Speech First respectfully requests that this Court enter

 judgment in favor of Plaintiff and against Defendant and provide the following

 relief:

           A.   A declaratory judgment that the University’s discriminatory-

 harassment policy violates the First and Fourteenth Amendments;

           B.   A declaratory judgment that the University’s computer policy

 violates the First and Fourteenth Amendments;

           C.   A declaratory judgment that the “bias-related incidents” policy, as

 enforced by the JKRT, violates the First and Fourteenth Amendments;

           D.   A permanent injunction barring Defendant from enforcing the

 University’s discriminatory-harassment policy;

           E.   A permanent injunction barring Defendant from enforcing the

 University’s computer policy;

           F.   A permanent injunction ordering Defendant to disband the JKRT;

           G.   A permanent injunction barring Defendant from investigating,

 logging, threatening, referring, or punishing (formally or informally) students

 for bias-related incidents;

           H.   A preliminary injunction granting the relief specified above during

 the pendency of this action;

           I.   $1 of nominal damages;




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       J.    Plaintiff’s reasonable costs and expenses of this action, including

 attorneys’ fees, per 42 U.S.C. §1988 and all other applicable laws; and

       K.    All other relief to which Plaintiff is entitled.

                                           Respectfully submitted,

  Dated: February 16, 2021                  /s/ Cameron T. Norris
                                           J. Michael Connolly (pro hac vice)
                                           Cameron T. Norris (pro hac vice)
                                           James F. Hasson (pro hac vice)
                                           Daniel Shapiro (FL Bar #1011108)
                                           CONSOVOY MCCARTHY PLLC
                                           1600 Wilson Blvd., Suite 700
                                           Arlington, VA 22209
                                           (703) 243-9423
                                           mike@consovoymccarthy.com
                                           cam@consovoymccarthy.com
                                           james@consovoymccarthy.com
                                           daniel@consovoymccarthy.com




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                                 VERIFICATION
 I, Nicole Neily, declare as follows:

       1.     I am the President of Speech First, Inc., the plaintiff in this case.

       2.     I have reviewed this amended complaint.

       3.     For the allegations within my personal knowledge, I believe them

 all to be true.

       4.     For the allegations not within my personal knowledge, I believe

 them all to be true based on my review of the cited policies and documents and

 based on my conversations with members of Speech First, including Students

 A, B, and C.

       5.     I declare under penalty of perjury that the foregoing is true and

 correct.




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